                              VICKI STARKS-FITTS
                               REG. NO. 18614-078
                          FCI TALLAHASSEE
                  FEDERAL CORRECTIONAL INSTITUTION
                        501 CAPITAL CIRCLE, NE
                             TALLAHASSEE, FL 32301
                                    March 23,2018

Clerk, U. S. District Court
for the Eastern District of Texas
Sherman Division
101 E Pecan Street
Sherman, TX 75090

      RE: Stark-Fitts v. United States
             Civil No. L15CV89
             CrimNo. L12CR119-4

To the Clerk of the Court:

      Enclosed please find and accept for timely filing Movanf s Objections to Report
and Recommendation Of United States Magistrate Judge. Please submit these Objections to
the Court.

      Thank you for your assistance in this matter.


                                        Sincerely,




                                        VICKI STARIC-FITTS
                                        Appearing Pro Se



Enel, as noted
